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                                                                                              2021 Sep-03 PM 03:12
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

 D’WANNA WILLIAMS,                               )
                                                 )
        Plaintiff,                               )
                                                 )
 v.                                              )    Case No.: 2:21-cv-00968-JHE
                                                 )
 NISA, INC.,                                     )
                                                 )
        Defendant.                               )

                                            ORDER

       On August 12, 2021, when it came to the undersigned’s attention that more than twenty-

one days have elapsed since Defendant NISA, Inc. was served with the summons and complaint

(see doc. 4), that said defendant had failed to answer or otherwise respond, and that the plaintiff

had failed to seek default judgment, the undersigned entered an order for the plaintiff to show

cause why this action should not be dismissed for want of prosecution. (Doc. 6). That same day,

the plaintiff filed a response explaining that counsel had been in contact with counsel for the

defendant, and he had consented to an extension of time for the defendant to respond to the

complaint. (Doc. 7).    He further stated he anticipated a motion for an extension of time to be

“filed shortly.” (Id.). Over three weeks has passed, and no such motion has been filed.

       Nevertheless, the undersigned is encouraged that the parties have been engaging in “good

faith settlement negotiations” and had arranged a meeting at the subject property with an ADA

consultant for August 13, 2021. (See doc. 7). However, this remains an active case (no stay has

been requested), and there needs to be a deadline for the defendant to respond to the complaint.

Accordingly, the plaintiff is ORDERED to file an update regarding the status of negotiations by
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September 10, 2021, unless the defendant has responded to the complaint before then or an

extension has been sought and granted.

       DONE this 3rd day of September, 2021.



                                         _______________________________
                                         JOHN H. ENGLAND, III
                                         UNITED STATES MAGISTRATE JUDGE




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